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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            WACO DIVISION

  WSOU INVESTMENTS, LLC d/b/a
  BRAZOS LICENSING AND
                                        Case No. 6:20-cv-00482-ADA
  DEVELOPMENT,

                    Plaintiff,
  v.

  DELL TECHNOLOGIES INC., DELL
  INC., AND EMC CORPORATION,

                    Defendants.



DEFENDANTS’ OPPOSED MOTION FOR INTRA-DISTRICT TRANSFER OF VENUE
     TO THE AUSTIN DIVISION OF THE WESTERN DISTRICT OF TEXAS
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                          TABLE OF ABBREVIATIONS


Abbreviation   Term/Document(s)
 ’020 patent   U.S. Patent No. 7,424,020
  Amended
Complaint or   Amended Complaint (D.I. 36)
Am. Compl.
   Dell or
               Dell Technologies Inc., Dell Inc., and EMC Corporation
 Defendants
  WSOU or
               WSOU Investments, LLC d/b/a Brazos Licensing and Development
   Plaintiff




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    Exhibit   Description
              WSOU          Entity   Details    at     Delaware    Department     of     State,
     Ex. 1    https://icis.corp.delaware.gov/ecorp/entitysearch/NameSearch.aspx (last accessed
              Nov. 3, 2020)
              ’020 Patent Assignment Agreement, http://legacy-assignments.uspto.gov/
     Ex. 2
              assignments/assignment-pat-52372-675.pdf (last accessed Nov. 3, 2020)
              Example Assignment from Alcatel Lucent to WSOU Investments, http://legacy-
     Ex. 3    assignments.uspto.gov/assignments/assignment-pat-44000-53.pdf (last accessed
              Nov. 3, 2020)
              LinkedIn Profile of Stuart A. Shanus, https://www.linkedin.com/in/stuart-a-s-
     Ex. 4
              60a7695/ (last accessed Nov. 3, 2020)
              LinkedIn Profile of Craig Etchegoyen, https://www.linkedin.com/in/craig-
     Ex. 5
              etchegoyen-aa8a07199/ (last accessed Nov. 3, 2020)
              Wade and Company Contact Information, http://www.wadeandcompany.com/
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              #contact (last accessed Nov. 3, 2020)
              Aqua Licensing Press Release, https://www.businesswire.com/news/home/
              20180207005651/en/AQUA-Licensing-to-Manage-Sale-of-Second-Large-
     Ex. 7
              Portfolio-of-Former-Nokia-and-Alcatel-Lucent-Telecommunications-Patents (last
              accessed Nov. 3, 2020)
              Brazos Licensing About, https://www.brazoslicensing.com/about (last accessed
     Ex. 8
              Nov. 3, 2020)
              Transition Networks Headquarters, https://www.transition.com/contact-us/our-
     Ex. 9
              headquarters/ (last accessed Nov. 3, 2020)
    Ex. 10    Excerpt from File History of ’020 Patent
    Ex. 11    Google Flights (from Prosselsheim, Germany)
    Ex. 12    Google Flights – Price Graph (from Prosselsheim, Germany)
              ’020 Patent Assignment Record, https://assignment.uspto.gov/patent/index.html#/
    Ex. 13    patent/search/resultAbstract?id=7424020&type=patNum (last accessed Nov. 3,
              2020)
    Ex. 14    Google Flights – Price Graph (from Paris, France)
    Ex. 15    Google Flights (from San Francisco)
              IBM Fast Ethernet Workgroup Switch, ftp://ftp.boulder.ibm.com/networking/
    Ex. 16
              nswww/did/nhs4590f.pdf (last accessed Nov. 3, 2020)
              IBM Research Lab in Austin, https://www.research.ibm.com/labs/austin/ (last
    Ex. 17
              accessed Nov. 3, 2020)
    Ex. 18    Google Flights (from Los Angeles)
    Ex. 19    Google Flights (from Hawaii)




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  Exhibits are attached to the Declaration of Brian A. Rosenthal in Support of Defendants’
Opposed Motion for Intra-District Transfer of Venue to the Austin Division of the Western District
of Texas.




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       Defendants seek an intra-district transfer to the Austin Division under 28 U.S.C. § 1404(a)

because this case has no relevant meaningful connection to the Waco Division, the case could have

been brought in the Austin Division and the Austin Division is clearly more convenient.

I.     INTRODUCTION

       Dell embodies the Austin / Round Rock area and is proud of its Austin roots and ties to the

Austin / Round Rock community. Since its origins over thirty-five years ago, in a dorm room at

the University of Texas in Austin, Dell has been headquartered in the Austin Division of the

Western District of Texas. 2 WSOU, meanwhile, is a relatively new limited liability company, with

only a marginal connection to Texas—Waco is listed as the principal place of business for

WSOU’s recently created trade name “Brazos Licensing and Development.” Indeed, before this

lawsuit, WSOU’s actions relevant to the Asserted Patent, such as its acquisition, valuation, and

monetization attempts, occurred before WSOU established any presence in Waco, and by WSOU

individuals who did not, and still do not, appear to live or work in Texas, much less in Waco.

Because Austin is clearly a more convenient venue than Waco, Dell seeks an intra-district transfer

of venue to the Austin Division.

II.    BACKGROUND

       Dell’s roots and ties to the Austin community are long-standing. Dell’s headquarters are

in Round Rock, and Dell employs over 14,000 people in the Austin / Round Rock area. See Crantz

Decl. ¶ 5. Dell, however, does not have any facilities in the Waco division of the Western District

of Texas. Id. ¶ 7.




2
  Similarly, since Dell acquired Defendant EMC Corporation in 2016, its principal place of
business has been in the Austin Division. See Am. Compl. ¶ 5. Defendant Dell Technologies Inc.
was formed in 2016 as a result of that acquisition, and its principal place of business is also in the
Austin Division. Id. ¶ 3.



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       In contrast to Dell’s deep Austin roots, WSOU’s ties to Waco are fleeting and unrelated to

this action.3 As it pertains to the Asserted Patent, WSOU did not employ the named inventors at

the time of the purported invention and did not research or develop the claimed technology.

Indeed, WSOU did not exist as a company when the Asserted Patent was filed and prosecuted

before the Patent and Trademark Office. Rather, WSOU is a company primarily focused on

licensing and monetization of old patents acquired from other companies and none of the named

inventors are based, nor was research related to the Asserted Patent performed, in Waco.

       WSOU was created in 2017, see Ex. 1 (WSOU Entity Details), 4 and during its infancy,

WSOU engaged primarily in one activity: the acquisition of old Alcatel-Lucent patents. When

WSOU purchased patents from Alcatel-Lucent over the course of 2017, it was still more than two

years away from any activity in Texas, let alone the Western District of Texas. Indeed, when

WSOU purchased the Asserted Patent in November 2019, WSOU’s principal address was listed

as 11150 Santa Monica Boulevard, Suite 1400, Los Angeles, CA 90025. See Ex. 2 (’020 Patent

Assignment Agreement) at 8.

       WSOU’s patent acquisition spree, including its purchase of the Asserted Patent, also

primarily involved two individuals: Stuart Shanus, the President of WSOU, see id. at 9, and Craig

Etchegoyen, see Ex. 3 (Example Assignment Record) at 88. Neither of these individuals appears


3
  To be sure, Defendants acknowledge that WSOU leases office space in Waco and is now trying
to involve itself (though without yet any tangible results) in the Waco community. As explained
in this motion, however, those actions are irrelevant to the Asserted Patent, which was acquired
from another company, and the value paid for that patent—activities that took place before WSOU
ever established a presence in Texas and conducted by individuals who did not, and still do not,
appear to have a presence in Texas.
4
  WSOU also has ties to Wade & Company, a venture capital firm with a listed address in Newport
Beach, California. See Ex. 6 (Wade & Company Contact Information). Some of the patents in
WSOU’s portfolio were initially acquired by Wade & Company, and then assigned to WSOU. See
Ex. 3 (Example Assignment from Wade & Company to WSOU) at 88. Later acquisitions went
directly to WSOU. See, e.g., Ex. 2 (’020 Patent Assignment Agreement) at 8–9.



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to live in Texas. Mr. Shanus lists his residence as Los Angeles, California, see Ex. 4 (LinkedIn

page of Mr. Shanus), and Mr. Etchegoyen lists his as Kailua-Kona, Hawaii, see Ex. 5 (LinkedIn

page of Mr. Etchegoyen). And none of the assignment records filed with the Patent and Trademark

Office stated that the assignments would be construed and enforced in accordance with the laws

of the State of Texas. See, e.g., Ex. 3 (Example Assignment Record) at 84–89.

        After acquiring the patent portfolio, in 2018, WSOU appears to have pivoted to attempting

to monetize the patents—but even at that point, WSOU did not appear to have a presence in Texas.

Rather, WSOU hired Aqua Licensing, a San Francisco, California company, to sell the patents.

See Ex. 7 (Press Release Discussing Attempts to Sell Patents).

        Suddenly in 2020, WSOU decided to chart a different path. In January 2020, Mr. Shanus

registered WSOU to do business in Texas, and a few weeks later registered WSOU’s alias “Brazos

Development and Licensing.” Brazos Licensing appears to have only four employees: Mr.

Etchegoyen (Chairman and Founder), Mr. Shanus (President), Aaron Garvey (Head of Finance),

and Matt Hogan (Business Development). See Ex. 8 (Brazos Licensing About Webpage).

Importantly, Mr. Etchegoyen, the individual who seemingly deals with WSOU’s licensing of its

patent portfolio, does not live in Texas. In fact, the only individual who appears to have a Waco

presence is Mr. Hogan, and his duties appear to be unrelated to WSOU’s licensing activities of its

patents acquired from Alcatel-Lucent. See id.

        Thus, WSOU’s presence in Waco—to the extent it has one—appears unrelated to issues

relevant to this lawsuit, namely non-infringement, invalidity, and value of the Asserted Patent.

III.    LEGAL STANDARDS

        Title 28 U.S.C. § 1404(a) provides that “[f]or the convenience of parties and witnesses, in

the interest of justice, a district court may transfer any civil action to any other district or division

where it might have been brought.” The purpose of section 1404(a) “is to prevent the waste of


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time, energy and money and to protect litigants, witnesses and the public against unnecessary

inconvenience and expense.” Gen. Elec. Capital Corp. v. Sweet Ventures, LLC, No. EP-09-CV-

253-DB, 2009 WL 10669384, at *2 (W.D. Tex. Dec. 4, 2009).

       In deciding whether to transfer a case, the Court conducts a two-step analysis. See Auto-

Dril, Inc. v. Nat’l Oilwell Varco, L.P., No. 6:15-CV-00091, 2016 WL 6909479, at *3 (W.D. Tex.

Jan. 28, 2016). First, the Court decides whether the civil action could have been brought in the

destination forum. See Chase v. Andeavor Logistics, L.P., No. 5:18-CV-1050-DAE, 2019 WL

5847879, at *3 (W.D. Tex. July 9, 2019). Second, the Court considers the convenience of the

parties and witnesses and the interests of justice. See In re Horseshoe Entm’t, 337 F.3d 429, 433

(5th Cir. 2003). This consideration “turns on a number of private and public interest factors, none

of which are given dispositive weight.” In re Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004).

These factors include:

       (1) the relative ease of access to sources of proof; (2) the availability of compulsory
       process to secure the attendance of witnesses; (3) the cost of attendance for willing
       witnesses; (4) all other practical problems that make trial of a case easy, expeditious
       and inexpensive; (5) the administrative difficulties flowing from court congestion;
       (6) the local interest in having localized interests decided at home; (7) the
       familiarity of the forum with the law that will govern the case; and (8) the avoidance
       of unnecessary problems of conflict of laws [or in] the application of foreign law.

Datascape, Ltd. v. Dell Techs., Inc., No. 6:19-CV-00129-ADA, 2019 WL 4254069, at *1 (W.D.

Tex. June 7, 2019) (internal quotation marks and citation omitted). Not all factors matter in all

cases. See, e.g., In re Volkswagen of Am., Inc., 545 F.3d 304, 316–18 (5th Cir. 2008) (considering

only four factors).      When these factors show that the destination forum is “clearly more

convenient,” the action must be transferred. See, e.g., Bascom v. Maxim Integrated Prod., Inc.,

534 F. Supp. 2d 700, 704 (W.D. Tex. 2008) (“[The analysis] does not require the level of

convenience in the desired venue to be substantially greater than in the original venue, just clearly

more convenient.”).


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IV.      ARGUMENT

      A. WSOU Could Have Filed This Case in the Austin Division

         WSOU’s Complaint alleges that Defendants’ principal place of business is at One Dell

Way, Round Rock, Texas 78682, see Am. Compl. ¶¶ 3–5, and thus WSOU could have filed this

case in the Austin Division, see XY, LLC v. Trans Ova Genetics, LC, No. W-16-CA-00447-RP,

2017 WL 5505340, at *10 (W.D. Tex. Apr. 5, 2017).

      B. The Austin Division Is Clearly More Convenient than the Waco Division

         The Fifth Circuit’s test for intra-district transfers shows that this case should be litigated in

the Austin Division. As explained below, four factors clearly favor transfer, the remaining four

factors are neutral, and not a single factor supports keeping this lawsuit in the Waco Division.

                           Factor                                            Venue Favored
 Relative ease of access to sources of proof                                    Austin
 Availability of compulsory process to secure the
                                                                                  Neutral
 attendance of witnesses
 Cost of attendance for willing witnesses                                         Austin
 All other practical problems that make trial of a case easy,
                                                                                  Austin
 expeditious, and inexpensive
 Administrative difficulties flowing from court congestion                        Neutral
 Local interest in having localized interests decided at
                                                                                  Austin
 home
 Avoidance of unnecessary problems of conflict of laws or
                                                                                  Neutral
 in the application of foreign law

         Thus, when considering the totality of the factors, Austin is clearly more convenient than

Waco, and this case should be transferred to the Austin Division. See Datascape, 2019 WL

4254069, at *1–3.




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             1. Factors Clearly Favoring Transfer

                a. Relative Ease of Access to Sources of Proof

       The first factor—access to relevant evidence—clearly favors transfer to the Austin

Division. In analyzing this factor, the Court “consider[s] the location of the relevant documents

and witnesses.” Moskowitz Family LLC. v. Globus Med., Inc., No. 6:19-CV-00672-ADA, 2020

WL 4577710, at *3 (W.D. Tex. July 2, 2020). Moreover, in a patent case, “the bulk of the relevant

evidence usually comes from the accused infringer. Consequently, the place where the defendant’s

documents are kept weighs in favor of transfer to that location.” Id. (Quoting In re Genentech,

Inc., 566 F.3d 1338, 1345 (Fed. Cir. 2009).)

       Defendants have not identified any relevant documents in Waco. Dell’s relevant evidence

and witnesses are primarily in the Austin Division, with no employees located in the Waco

Division. See Crantz Decl. ¶¶ 6, 7. Indeed, this Court previously found Dell’s “access to sources

of proof is relatively easier in Austin than it is in Waco.” Datascape, 2019 WL 4254069, at *2.

       Defendants are also not aware of any relevant third-party documents in Waco. 5 For

example, WSOU relies on the website of a third party—Transition Networks—in its Amended

Complaint.     See Am. Compl. ¶ 20.      Transition Networks appears to be headquartered in

Minnetonka, Minnesota. See Ex. 9 (Global Headquarters).

       Although WSOU’s alias has a nominal physical presence in Waco, Texas, WSOU did not

develop, create, or employ the named inventors of the Asserted Patent. The Asserted Patent was

not even prosecuted from Texas. See Ex. 10 (Transmittal of New Application from Washington,


5
   Defendants’ ability to identify relevant third-party companies, documents, and witnesses is
hampered by Plaintiff’s deficient Complaint, Amended Complaint, and Preliminary Infringement
Contentions. Defendants are separately seeking clarity from Plaintiff. In the meantime,
Defendants have endeavored to identify relevant third parties based on the limited information
provided by Plaintiff.



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D.C.). The only possible relevant documents in WSOU’s possession are ownership and valuation

documents related to the acquisition and subsequent monetization attempts of the Asserted Patent.

But these documents were created before WSOU had any presence in Waco, by individuals (Mr.

Etchegoyen and Mr. Shanus) who do not appear to live in Texas, and potentially by a company

that is located in California (Aqua Licensing). WSOU’s presence in Waco cannot obscure the fact

that its relevant documents are minimal, are negated by the presence of Aqua Licensing in

California, and are significantly outweighed by the fact that the bulk of Defendants’ documents

are located in Austin. Thus, when considering the “the totality of circumstances,” the first factor

“weighs heavily towards transfer.” Moskowitz, 2020 WL 4577710, at *4.

               b. Cost of Attendance for Willing Witnesses

       The third factor—the cost for party and non-party witnesses to attend proceedings—also

favors transfer. This factor “is the single most important factor in the transfer analysis” and

“consider[s] all potential material and relevant witnesses.” Parus Holdings Inc. v. LG Elecs. Inc.,

No. 6:19-CV-00432-ADA, 2020 WL 4905809, at *5 (W.D. Tex. Aug. 20, 2020).

       Among the potential witnesses at trial, the convenience of non-party witnesses is given the

greatest weight. Id. at *6. In this lawsuit, non-party witnesses include: (1) named inventors; (2)

prior owners of the Asserted Patent; (3) former sellers of the Asserted Patent; and (4) other third

parties. In this case, not a single non-party is located in the Waco Division.

       First, the named inventor, Christoph Ochsner, does not appear to be located in the Western

District of Texas. Based on the face of the patent, he is located in Prosselheim, Germany. See

’020 Patent. There are flights with only two stops from Prosselheim to Austin; but no flights with

less than three stops from Prosselheim to Waco. See Ex. 11 (Google Flights from Prosselheim).

Additionally, the flights to Waco are substantially higher, on average, in price than flights to

Austin. See Ex. 12 (Google Flights – Price Graph from Prosselheim).


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       Second, the ’020 patent’s prior owners, Alcatel and Alcatel Lucent, neither appear to be

located in Texas. See Ex. 13 (Assignment Record indicating Alcatel is located in Paris, France

and Alcatel Lucent is located in Nozay, France). Flights from France to Austin are substantially

cheaper, on average, than flights from France to Waco. See Ex. 14 (Google Flights – Price Graph

from France).

       Third, Aqua Licensing is located in San Francisco, and there are direct flights to Austin,

but no direct flights to Waco. See Ex. 15 (Google Flights from San Francisco).

       Although the case is in its early stages, and Dell has only just received WSOU’s

preliminary infringement contentions, Dell is not currently aware of any companies in the Waco

Division that have relevant information about prior art systems involving Dell Edge Gateways. In

fact, at the time of the Asserted Patent’s claimed priority date, several companies, such as IBM

were involved in alleged technology covered by the ’020 patent. See Am. Compl. ¶ 20 (accusing

“Fast Ethernet”); Ex. 16 (IBM Fast Ethernet Workgroup Switch with address in North Carolina).

IBM, for example, has a presence in the Austin Division. See Ex. 17 (IBM Austin Research Lab).

       Next, Dell’s witnesses are not located in the Waco Division. The relevant employees are

located in Round Rock and Austin, Texas. See Crantz Decl. ¶ 6. It is relatively more burdensome

for an Austin-based witness to travel to Waco for trial. Indeed, if this case is transferred to the

Austin Division, potential on-call trial witnesses can still work at Dell’s Austin offices.

       Meanwhile, WSOU’s witnesses appear to reside in Los Angeles and Hawaii. There is a

direct flight from Los Angeles to Austin, but there are no direct flights to Waco. Ex. 18 (Google

Flights from Los Angeles). And for WSOU’s potential witness in Hawaii, there are flights with

only one stop to Austin, while flights to Waco require two stops. See Ex. 19 (Google Flights from

Hawaii). As for WSOU’s apparently sole employee in Texas, Mr. Hogan, it does not appear that




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he has relevant information regarding the acquisition or valuation of the Asserted Patent, which

occurred before he was hired by WSOU.

       Accordingly, given the significant number of third-party witnesses outside of the Waco

Division, and the Dell employees residing in Austin, this factor strongly weighs in favor of transfer

to the Austin Division. See Moskowitz, 2020 WL 4577710, at *5.

               c. All Other Practical Problems That Make Trial of a Case Easy,
                  Expeditious and Inexpensive

       The fourth factor—practical difficulties of a lawsuit—also favors transfer to the Austin

Division. This factor favors transfer when a case is in its early stages and the transfer will have a

minimal impact on the trial schedule. See Mimedx Grp., Inc. v. Texas Human Biologics, Ltd., No.

1:14-CV-464-LY, 2014 WL 12479284, at *2 (W.D. Tex. Aug. 12, 2014). Here, the Court just

held the initial case management conference on October 21, 2020. Moreover, if this case is

transferred to the Austin Division, the Court can maintain the same case schedule. See, e.g.,

Datascape, 2019 WL 4254069, at *3. Thus, because “there is little if any risk of judicial waste or

inefficiency associated with transfer,” the fourth factor favors transfer. Id.

               d. Local Interest in Having Localized Interests Decided at Home

       The sixth factor—local interest in deciding a case—also favors transfer to Austin. Dell has

been located in the Austin Division for decades and employs more than 14,000 people in and

around Austin. Austin therefore has more interest and connection to the outcome of this litigation

than Waco. See id. (finding in another case involving Dell that the “outcome of the instant action

likely affects local Austin interests more acutely than local Waco interests”); see also In re

Volkswagen AG, 371 F.3d at 205-06. While WSOU has a nominal presence in Waco, its activities

related to patent acquisitions and licensing occurred while it was headquartered in California and




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before it relocated its headquarters prior to filing lawsuits in Waco. Thus, this factor “strongly

weighs in favor of transfer.” Datascape, 2019 WL 4254069, at *3.

              2. Neutral Factors

       The remaining factors are neutral. See, e.g., Datascape, 2019 WL 4254069, at *1. The

second factor (availability of compulsory process to secure the attendance of witnesses) is neutral

because both the Austin and Waco Divisions have the same ability to secure the attendance of

third-party witnesses. The fifth factor (administrative difficulties flowing from court congestion)

is neutral because Defendants have no objection to the Court’s retaining control of this case

following transfer to the Austin Division. The seventh factor (familiarity of the forum with the

law that will govern) is neutral because Your Honor can sit in either division and patent law does

not vary based on the particular forum. Finally, the eighth factor (conflict of laws or the application

of foreign law) is neutral because a transfer to Austin will not involve a conflict of laws or foreign

law issues.

V.     CONCLUSION

       Because four factors favor transfer, and the remaining four factors are neutral, this case

should be transferred to the Austin Division, which is a clearly more convenient forum.

Accordingly, Defendants respectfully ask that the Court grant this Motion.




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                            CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(h), counsel for the parties have conferred and plaintiff is

opposed to this motion.




                               CERTIFICATE OF SERVICE

       The undersigned certifies that on this 4th day of November 2020, all counsel of record who

are deemed to have consented to electronic service are being served with a copy of this document

through the Court’s CM/ECF system under Local Rule CV-5(b)(1).

                                                           /s/ Barry K. Shelton

                                                           Barry K. Shelton




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